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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


ROBERT LUBOLD,

         Plaintiff,

v.                                              Civ. No. 17-727 KK/KBM

GEICO CHOICE INSURANCE COMPANY,

         Defendant.


     ORDER GRANTING STIPULATED MOTION TO DISMISS WITH PREJUDICE

         THIS MATTER is before the Court on the parties’ Stipulated Motion to Dismiss

with Prejudice (Doc. 36), filed November 16, 2017. The Court, having considered the

Motion and being otherwise fully advised in the premises, finds that the Motion is well

taken and should be GRANTED.

         THE COURT FINDS that there is no objection from any party to dismissal with

prejudice of Plaintiffs’ Complaint and all claims that were or could have been alleged

therein.

         IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiffs’ Complaint and all

causes of action that were or could have been alleged therein in the above-captioned

matter, be dismissed with prejudice, with all parties to bear their own attorneys’ fees and

costs.


                                        _______________________________________
                                        KIRTAN KHALSA
                                        UNITED STATES MAGISTRATE JUDGE
